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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF FLORIDA
                                TALLAHASSEE DIVISION

ROSA HALL,

   Plaintiff,                                   CASE NO.:

-VS-

PORTFOLIO RECOVERY ASSOCIATES,
LLC,

   Defendant.
                                    /

                 COMPLAINT AND DEMAND FOR JURY TRIAL

       COMES NOW Plaintiff, Rosa Hall, by and through the undersigned counsel, and

sues Defendant, Portfolio Recovery Associates, LLC, and in support thereof respectfully

alleges violations of the Telephone Consumer Protection Act, 47 U.S.C. §227 et seq.

(“TCPA”), the Florida Consumer Collection Practices Act, Fla. Stat. §559.55 et seq.

(“FCCPA”) and the Fair Debt Collection Practices Act, 15 U.S.C. § 1692 et. seq.

(“FDCPA”).

                                  INTRODUCTION

       1.       The TCPA was enacted to prevent companies like Defendant from

invading American citizen’s privacy and prevent abusive “robo-calls.”

       2.       “The TCPA is designed to protect individual consumers from receiving

intrusive and unwanted telephone calls.” Mims v. Arrow Fin. Servs., LLC, -US--, 132

S.Ct. 740, 745, 181 L.Ed. 2d 881 (2012).




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         3.    “Senator Hollings, the TCPA’s sponsor, described these calls as ‘the

*1256 scourge of modern civilization, they wake us up in the morning; they interrupt our

dinner at night; they force the sick and elderly out of bed; they hound us until we want to

rip the telephone out of the wall.’ 137 Cong. Rec. 30, 821 (1991). Senator Hollings

presumably intended to give telephone subscribers another option: telling the auto-dialers

to simply stop calling.” Osorio v. State Farm Bank, F.S.B., 746 F. 3d 1242 (11th Cir.

2014).

         4.    According     to   the   Federal   Communications     Commission     (FCC),

“Unwanted calls and texts are the number one complaint to the FCC. There are thousands

of complaints to the FCC every month on both telemarketing and robocalls. The FCC

received      more        than     215,000        TCPA      complaints       in      2014."

https://www.fcc.gov/document/fact-sheet-consumer-protection-proposal

                             JURISDICTION AND VENUE


         5.    This is an action for damages exceeding Seventy-Five Thousand Dollars

($75,000.00), exclusive of attorney fees and costs.

         6.    Jurisdiction and venue for purposes of this action are appropriate and

conferred by 28 U.S.C. § 1331, Federal Question Jurisdiction, as this action involves

violations of the TCPA.

         7.    Subject matter jurisdiction, federal question jurisdiction, for purposes of

this action is appropriate and conferred by 28 U.S.C. § 1331, which provides that the

district courts shall have original jurisdiction of all civil actions arising under the

Constitution, laws, or treaties of the United States; and this action involves violations of


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47 U.S.C. § 227(b)(1)(A)(iii). See Mims v. Arrow Fin. Servs., LLC, S.Ct. 740, 748 (2012)

and Osorio v. State Farm Bank, F.S.B., 746 F.3d 1242, 1249 (11th Cir. 2014).

         8.     The alleged violations described herein occurred in Gadsden County,

Florida. Accordingly, venue is appropriate with this Court under 28 U.S.C. §1391(b)(2),

as it is the judicial district in which a substantial part of the events or omissions giving

rise to this action occurred.

                                FACTUAL ALLEGATIONS

         9.     Plaintiff is a natural person, and citizen of the State of Florida, residing in

Gadsden County, Florida.

         10.    Plaintiff is a “consumer” as defined in Florida Statute 559.55(8) and 15

U.S.C. § 1692(a)(3).

         11.    Plaintiff is an “alleged debtor.”

         12.    Plaintiff is the “called party.” See Breslow v. Wells Fargo Bank, N.A., 755

F. 3d 1265 (11th Cir. 2014) and Osorio v. State Farm Bank, F.S.B., 746 F. 3d 1242 (11th

Cir. 2014).

         13.    Defendant is a corporation which was formed in Delaware with its

principal place of business located at 120 Corporate Boulevard, Suite 100, Norfolk,

Virginia 23502, and which conducts business in the State of Florida through its registered

agent, Corporation Service Company located at 1201 Hays Street, Tallahassee, Florida

32301.

         14.    Defendant is a “debt collector” as defined by Florida Statute § 559.55(7)

and 15 U.S.C. § 1692(a)(6).



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       15.     The debt that is the subject matter of this complaint is a “consumer debt”

as defined by Florida Statute §559.55(6) and U.S.C. § 1692(a)(5).

       16.     Defendant called Plaintiff on Plaintiff’s cellular telephone approximately

1,000 (one thousand) times in an attempt to collect a debt.

       17.     Defendant attempted to collect an alleged debt from the Plaintiff by this

campaign of telephone calls.

       18.     Defendant intentionally harassed and abused Plaintiff on numerous

occasions by calling several times during one day, and on back to back days, with such

frequency as can reasonably be expected to harass.

       19.     Upon information and belief, some or all of the calls the Defendant made

to Plaintiff’s cellular telephone number were made using an “automatic telephone dialing

system” which has the capacity to store or produce telephone numbers to be called, using

a random or sequential number generator (including but not limited to a predictive dialer)

or an artificial or pre-recorded voice; and to dial such numbers as specified by 47 U.S.C §

227(a)(1) (hereinafter “auto-dialer calls”). Plaintiff will testify that she knew it was an

auto-dialer because of the vast number of calls she received and because she heard a

pause when she answered her phone before a voice came on the line and she received

prerecorded messages from Defendant.

       20.     Plaintiff is the subscriber, regular user and carrier of the cellular telephone

number (954) ***-3832, and was the called party and recipient of Defendant’s calls.

       21.     Defendant placed an exorbitant number of automated calls to Plaintiff’s

cellular telephone (954) ***-3832 in an attempt to collect on a credit card loan.



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           22.   Auto-dialer calls from Defendant were initiated from phone numbers

included but not limited to: 314-300-7697, 314-332-2122, and 770-752-4181, and when

those numbers are dialed, an artificial voice answers and identifies the numbers as

belonging to Defendant.

           23.   On several occasions over the last four (4) years, Plaintiff instructed

Defendant’s agent(s) to stop calling her cellular telephone.

           24.   On or about October 5, 2017, Plaintiff received a call from Defendant,

held the line to be connected to an agent, was eventually connected to an agent, and

advised the agent to stop calling her cellular telephone.

           25.   Each subsequent call Defendant made to Plaintiff was done so without the

“express consent” of the Plaintiff.

           26.   Each subsequent call Defendant made to Plaintiff was knowing and

willful.

           27.   Defendant has a corporate policy to use an automatic telephone dialing

system or a pre-recorded or artificial voice to individuals just as it did to the Plaintiff’s

cellular telephone in this case.

           28.   Defendant has a corporate policy to use an automatic telephone dialing

system or a pre-recorded or artificial voice, just as it did to the Plaintiff’s cellular

telephone in this case, with no way for the consumer, Plaintiff, or Defendant to remove

the cellular telephone number.




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        29.      Defendant’s corporate policy is structured as to continue to call

individuals like the Plaintiff, despite these individuals explaining to Defendant they wish

for the calls to stop.

        30.      Defendant has numerous other federal lawsuits pending against them

alleging similar violations as stated in this Complaint.

        31.      Defendant has numerous complaints against them across the country

asserting that their automatic telephone dialing system continues to call despite being

requested to stop.

        32.      Defendant has had numerous complaints from consumers against them

across the country asking to not be called, however the Defendant continues to call the

consumers.

        33.      Defendant’s corporate policy provided no means for the Plaintiff to have

her cellular telephone number removed from the Defendant’s call list.

        34.      Defendant has a corporate policy to harass and abuse individuals despite

actual knowledge that the called parties do not wish to be called.

        35.      None of Defendant’s telephone calls placed to Plaintiff were for

“emergency purposes” as specified in 47 U.S.C. §227(b)(1)(A).

        36.      Defendant willfully and/or knowingly violated the TCPA with respect to

the Plaintiff.

        37.      From each and every call placed without express consent by Defendant to

Plaintiff’s cellular telephone, Plaintiff suffered the injury of invasion of privacy and the

intrusion upon her right of seclusion.



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       38.     From each and every call without express consent placed by Defendant to

Plaintiff’s cellular telephone, Plaintiff suffered the injury of the occupation of her cellular

telephone line and cellular telephone by unwelcome calls, making the cellular telephone

unavailable for legitimate callers or outgoing calls while the cellular telephone was

ringing from Defendant’s call.

       39.     From each and every call placed without express consent by Defendant to

Plaintiff’s cellular telephone, Plaintiff suffered the injury of unnecessary expenditure of

her time. For calls she answered, the time she spent on the call was unnecessary as she

had repeatedly asked for the calls to stop. Even for unanswered calls, Plaintiff had to

waste time to unlock the cellular telephone and deal with missed call notifications and

call logs that reflected the unwanted calls. This also impaired the usefulness of these

features of Plaintiff’s cellular telephone, which are designed to inform the user of

important missed communications.

       40.     Each and every call placed without express consent by Defendant to

Plaintiff’s cellular telephone was an injury in the form of a nuisance and annoyance to

Plaintiff. For calls that were answered, Plaintiff had to go to the unnecessary trouble of

answering them. Even for unanswered calls, Plaintiff had to waste time to unlock the

cellular telephone and deal with missed call notifications and call logs that reflected the

unwanted calls. This also impaired the usefulness of these features of Plaintiff’s cellular

telephone, which are designed to inform the user of important missed communications.




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        41.     Each and every call placed without express consent by Defendant to

Plaintiff’s cellular telephone resulted in the injury of unnecessary expenditure of

Plaintiff’s cellular telephone’s battery power.

        42.     Each and every call placed without express consent by Defendant to

Plaintiff’s cellular telephone where a voice message was left which occupied space in

Plaintiff’s cellular telephone or network.

        43.     Each and every call placed without express consent by Defendant to

Plaintiff’s cellular telephone resulted in the injury of a trespass to Plaintiff’s chattel,

namely her cellular telephone and her cellular telephone services.

        44.     As a result of the calls described above, Plaintiff suffered an invasion of

privacy, as well as personal cost for each call. Plaintiff pays for each call made to her

cellular telephone and due to the amount of calls Defendant placed, Plaintiff has had to

freeze her account due to lack of funds to pay for her cellular telephone. Plaintiff was

also affected in a personal and individualized way by stress, nervousness, embarrassment,

distress and aggravation.

                                          COUNT I
                                   (Violation of the TCPA)

        45.     Plaintiff fully incorporates and re-alleges paragraphs one (1) through

forty-four (44) as if fully set forth herein.

        46.     Defendant willfully violated the TCPA with respect to the Plaintiff,

especially for each of the auto-dialer calls made to Plaintiff’s cellular telephone after

Plaintiff notified Defendant that she wished for the calls to stop.




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        47.     Defendant repeatedly placed non-emergency telephone calls to Plaintiff’s

cellular telephone using an automatic telephone dialing system or pre-recorded or

artificial voice without Plaintiff’s prior express consent in violation of federal law,

including 47 U.S.C § 227(b)(1)(A)(iii).

        WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so

triable and judgment against Portfolio Recovery Associates, LLC, for statutory damages,

punitive damages, actual damages, treble damages, enjoinder from further violations of

these parts and any other such relief the court may deem just and proper.

                                          COUNT II
                                  (Violation of the FCCPA)

        48.     Plaintiff fully incorporates and re-alleges paragraphs one (1) through

forty-four (44) as if fully set forth herein.

        49.     At all times relevant to this action Defendant is subject to and must abide

by the laws of the State of Florida, including Florida Statute § 559.72.

        50.     Defendant has violated Florida Statute §559.72(7) by willfully

communicating with the debtor or any member of her or his family with such frequency

as can reasonably be expected to harass the debtor or her or his family.

        51.     Defendant has violated Florida Statute §559.72(7) by willfully engaging in

other conduct which can reasonably be expected to abuse or harass the debtor or any

member of her or his family.

        52.     Defendant’s actions have directly and proximately resulted in Plaintiff’s

prior and continuous sustaining of damages as described by Florida Statute §559.77.

        WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so


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triable and judgment against Portfolio Recovery Associates, LLC, for statutory damages,

punitive damages, actual damages, costs, interest, attorney fees, enjoinder from further

violations of these parts and any other such relief the court may deem just and proper.

                                         COUNT III
                                  (Violation of the FDCPA)

        53.     Plaintiff fully incorporates and re-alleges paragraphs one (1) through

forty-four (44) as if fully set forth herein.

        54.     At all times relevant to this action Defendant is subject to and must abide

by 15 U.S.C. § 1692 et seq.

        55.     Defendant has violated 15 U.S.C. § 1692(d) by willfully engaging in

conduct the natural consequence of which is to harass, oppress, or abuse any person in

connection with the collection of a debt.

        56.     Defendant has violated 15 U.S.C. § 1692(d)(5) by causing a telephone to

ring or engaging any person in telephone conversation repeatedly or continuously with

intent to annoy, abuse, or harass any person at the called number.

        57.     Defendant has violated 15 U.S.C. § 1692(f) by using unfair and

unconscionable means to collect or attempt to collect any debt.

        WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so

triable and judgment against Portfolio Recovery Associates, LLC, for statutory damages,

punitive damages, actual damages, costs, interest, attorney fees, enjoinder from further

violations of these parts and any other such relief the court may deem just and proper.

                                                 Respectfully submitted,




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